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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11     ACTIVISION PUBLISHING, INC.,               Case No. 2:21-cv-03073-FLA (JCx)
12                            Plaintiff,
                                                  ORDER GRANTING ACTIVISION
13                v.                              PUBLISHING, INC.’S MOTION TO
14                                                DISMISS COUNTERCLAIMS, AND
       WARZONE.COM, LLC,                          JUDGMENT ON THE PLEADINGS
15                            Defendant.          [DKT. 24]
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1                                            RULING
2            Before the court is Plaintiff and Counterclaim-Defendant Activision Publishing,
3      Inc.’s (“Activision” or “Plaintiff”) Motion to Dismiss Counterclaims And/or for
4      Judgment on the Pleadings (“Motion”). Dkt. 24 (“Mot.”). Defendant and
5      Counterclaimant, Warzone.com LLC (“Warzone.com” or “Defendant”), opposes the
6      Motion. Dkt. 29 (“Opp’n”). On December 6, 2021, the court found this matter
7      appropriate for resolution without oral argument and vacated the hearing set for
8      December 10, 2021. Dkt. 37; see Fed. R. Civ. P. 78(b); Local Rule 7-15.
9            For the reasons stated herein, the court GRANTS Plaintiff’s Motion,
10     DISMISSES Defendant’s counterclaims without leave to amend, and ENTERS
11     Judgment in Plaintiff’s favor on the Complaint.
12                                       BACKGROUND
13           The following allegations are taken from Plaintiff’s Complaint. Dkt. 1
14     (“Compl.”). Activision is a publisher of video games and interactive entertainment
15     products, including the Call of Duty video game series. Id. ¶ 2. Activision released
16     the first Call of Duty game in 2003 and has since released 16 major installments to the
17     Call of Duty franchise. Id. ¶¶ 2, 13. Activision has sold more than 300 million Call of
18     Duty games, which Plaintiff contends is considered the most successful first-person
19     shooter game franchise ever made. Id. ¶ 14. On March 10, 2020, Activision released
20     a stand-alone, “free to play,” online multiplayer game titled Call of Duty: Warzone
21     (“CODWZ”). Id. ¶ 15. CODWZ is a first-person shooter game that features a large
22     computer-generated battlefield, or warzone, that accommodates up to 150 payers, and
23     sometimes 200 players, at one time. Id. ¶ 16.
24           Warzone.com develops and makes available to the public a browser-based
25     game titled Warzone. Id. ¶ 19. Warzone is a free-to-play, turn-based strategy game.
26     Id. Players shift numbers, which represent armies, across a map of the world to take
27     control of countries or territories. Id. ¶ 22. Warzone.com markets that game as
28     “Better than Hasbro’s RISK game.” Id. Warzone.com released Warzone in

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1      November 2017, and it is available on Warzone.com’s internet website and mobile
2      devices. Id. ¶ 20. Warzone is not available on video game consoles. Id.
3            On or about June 25, 2020, Activision filed applications for registration of the
4      trademarks WARZONE and CALL OF DUTY WARZONE. Id. ¶ 26. On October
5      30, 2020, Warzone.com filed applications for registration of the trademark
6      WARZONE. Id. ¶ 27. Warzone.com filed a Notice of Opposition to the registration
7      of the Activision marks and the opposition proceeding is currently pending before the
8      USPTO. Id. ¶ 29. On November 20, 2020, Warzone.com’s counsel sent a cease-and-
9      desist letter to Activision’s counsel, demanding that Activision “change the name of
10     its games, stop using Warzone’s WARZONE mark, and abandon the trademark
11     applications.” Id. ¶ 30. Activision and Warzone.com were unable to resolve the
12     dispute, and Warzone.com indicated it intended to seek injunctive relief and damages
13     against Activision. Id. ¶¶ 3, 32.
14           In this action, Activision seeks a declaration of non-infringement under the
15     Lanham Act, 15 U.S.C. § 1125, that its use and registration of the word marks
16     WARZONE and CALL OF DUTY WARZONE do not infringe Warzone.com’s
17     purported trademark rights in the title of its game titled Warzone. Id. ¶¶ 1, 32. On
18     June 8, 2021, Defendant filed counterclaims for unfair competition and trademark
19     infringement under the Lanham Act, 15 U.S.C. § 1125 (“Counterclaim I”), unfair
20     competition and false advertising under California law, Cal. Bus. & Prof. Code §§
21     17200 and 17500 et seq. (“Counterclaim II”), and trademark infringement under
22     California common law (“Counterclaim III”). Dkt. 14 (“Answer and Counterclaims”)
23     at 16-19. According to Defendant, it has been using the WARZONE mark in
24     commerce since at least November 13, 2017, and it has pending applications before
25     the USPTO for the mark WARZONE. Id. at 8, ¶¶ 3, 5-6. Defendant contends that
26     given the popularity of the Call of Duty franchise, Activision’s use of WARZONE has
27     saturated the market in a manner that has overwhelmed Warzone.com. Id. at 14, ¶ 23.
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1                                           DISCUSSION
2      I.    Legal Standard
3            “After the pleadings are closed—but early enough not to delay trial—a party
4      may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c) (“Rule 12(c)”). The
5      legal standard for a motion for judgment on the pleadings under Rule 12(c) is
6      “functionally identical” to a motion to dismiss under Fed. R. Civ. P. 12(b)(6) (“Rule
7      12(b)(6)”). Dworkin v. Hustler Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989).
8      The same legal standard applies to motions brought under either rule. Id. Thus, the
9      issue presented by a Rule 12(c) motion is whether the factual allegations of the
10     complaint, together with all reasonable inferences, state a plausible claim for relief.
11     Cafasso v. Gen. Dynamics C4 Sys., 637 F.3d 1047, 1054 & n. 4 (9th Cir. 2011). “A
12     claim has facial plausibility when the plaintiff pleads factual content that allows the
13     court to draw the reasonable inference that the defendant is liable for the misconduct
14     alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v.
15     Twombly, 550 U.S. 544, 556 (2007)).
16           In evaluating a motion for judgment on the pleadings, the court “must accept all
17     factual allegations in the complaint as true and construe them in the light most
18     favorable to the non-moving party.” Fleming, 581 F.3d at 925; see also Hal Roach
19     Studios, Inc. v. Richard Feiner & Co., Inc., 896 F.2d 1542, 1550 (9th Cir. 1989) (“For
20     purposes of the motion, the allegations of the non-moving party must be accepted as
21     true, while the allegations of the moving party which have been denied are assumed to
22     be false.”). “Judgment on the pleadings is proper when the moving party clearly
23     establishes on the face of the pleadings that no material issue of fact remains to be
24     resolved and that it is entitled to judgment as a matter of law.” Hal Roach, 896 F.2d
25     at 1550.
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1      II.   Analysis
2            A.     Lanham Act Claim
3            Generally, courts within the Ninth Circuit apply an eight-factor “likelihood-of-
4      confusion test” to claims brought under the Lanham Act. Twentieth Century Fox
5      Television v. Empire Distrib., Inc., 875 F.3d 1192, 1196 (9th Cir. 2017). But when a
6      trademark is included in an expressive work, the protections afforded under trademark
7      laws must also be balanced against broader First Amendment concerns. Id.; see also
8      Mattel, Inc. v. MCA Records, Inc., 296 F.3d 894, 900 (9th Cir. 2002) (noting “when a
9      trademark owner asserts a right to control how we express ourselves … applying the
10     traditional [likelihood-of-confusion] test fails to account for the full weight of the
11     public’s interest in free expression”). In circumstances involving an expressive work,
12     a plaintiff with Lanham Act claims must instead overcome the test articulated in
13     Rogers v. Grimaldi, 875 F.2d 994 (2d Cir. 1989), which was adopted by the Ninth
14     Circuit in Mattel, 296 F.3d at 902. See also Twentieth Century Fox, 875 F.3d at 1196;
15     E.S.S. Ent. 2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095, 1099 (9th Cir. 2008).
16                  1.     The Rogers Test
17           The “threshold for applying the Rogers test is whether the allegedly infringing
18     use is contained in an expressive work.” Twentieth Century Fox Television v. Empire
19     Distrib. Inc., 161 F. Supp. 3d 902, 907 (C.D. Cal. 2016), aff’d 875 F.3d 1192 (9th Cir.
20     2017). If the threshold requirement is met, the court applies the two-prong Rogers
21     test, which provides First Amendment protection to “the use of a trademark in an
22     expressive work if the use of the mark has [1] artistic relevance to the underlying
23     work and [2] does not explicitly mislead as to the source or content of the work.” Id.
24     at 909; see also Rogers, 875 F.2d at 999 (noting that the Lanham Act “should be
25     construed to apply to artistic works only where the public interest in avoiding
26     consumer confusion outweighs the public interest in free expression”).
27           The Rogers test squarely applies here. To begin, Defendant admits that
28     CODWZ is an expressive work and thus, the Rogers test applies. See Opp’n 15

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1      (“Warzone does not dispute that video games may qualify as ‘artistic works’ subject
2      to application of the Rogers balancing test.”). The Supreme Court has clearly
3      recognized that video games are subject to First Amendment protection. Brown v.
4      Ent. Merchs. Ass’n, 564 U.S. 786, 790 (2011); see also Novalogic, Inc. v. Activision
5      Blizzard, 41 F. Supp. 3d 885, 898 (C.D. Cal. 2013) (finding Call of Duty—Modern
6      Warfare 3 was “an expressive work entitled to as much First Amendment protection
7      as … any other expressive work”).1
8            Having found CODWZ an expressive work, the court applies the Rogers test.
9      See Twentieth Century Fox, 875 F.3d at 1196-97.
10                       a.       Artistic Relevance Prong
11           “The first prong of the Rogers test requires a showing that the use of a mark has
12     artistic relevance to the underlying work.” Id. “[T]he level of relevance merely must
13     be above zero.” E.S.S., 547 F.3d at 1100.
14           In CODWZ, game play takes place in a large computer-generated battlefield
15     that accommodates over one hundred players at a given time. Compl. ¶ 16.
16     Activision argues this virtual battlefield has all the hallmarks of the definition of a
17     real-life warzone, and thus the title “Warzone” is logically and artistically relevant to
18     the content of its video game.2 Mot. 14. Defendant counters that Activision could
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         Defendant cites Masters Software, Inc. v. Discovery Communications, Inc., 725 F.
21     Supp. 2d 1294 (W.D. Wash. 2010), to argue that the Rogers test does not apply in
22     reverse confusion cases. Opp’n 19-21. Defendant’s cited cases, however, are older
       district court cases that do not constitute binding authority, and which predate the
23     Ninth Circuit’s ruling in Twentieth Century Fox, 875 F.3d 1192. The Ninth Circuit
24     has expressly rejected the argument that Rogers has a referential requirement, see Caiz
       v. Roberts, 382 F. Supp. 3d 942, 948-49 (C.D. Cal. 2019), as Defendant recognizes in
25     its Opposition. See Opp’n 20-21. Accordingly, the court will not find the Rogers test
26     does not apply in this action, simply because it involves reverse confusion.
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27      Merriam-Webster defines “war zone” as “a zone in which belligerents are waging
       war” and “an area marked by extreme violence.” War zone, MERRIAM-WEBSTER
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1      have selected from among many common English words, such as “warfare, combat
2      zone, frontline, battle, [or] battle zone, but instead chose to appropriate the goodwill
3      inherent in Warzone.com’s mark. Opp’n 23.
4            Warzone.com cites Gordon v. Drape Creative, Inc., 897 F.3d 1184, 1194 (9th
5      Cir. 2018), opinion withdrawn and superseded on reh’g, 909 F.3d 257 (9th Cir. 2018),
6      to argue that “the use of a mark is not artistically relevant if the defendant uses it
7      merely to appropriate the goodwill inhering in the mark ….” Opp’n 22.
8      Warzone.com’s reliance on the withdrawn opinion in Gordon is misplaced. In the
9      superseding opinion, the Ninth Circuit recognized that the use of a mark in a title has
10     artistic value when it is relevant to the underlying work and omitted the quoted
11     language from the withdrawn opinion on which Warzone.com relies. Gordon, 909
12     F.3d at 265-67.
13           Activision’s use of the term “Warzone” is clearly relevant to the content in
14     CODWZ. That Activision could have chosen other relevant names does not negate the
15     artistic value of the name it ultimately selected. The court, therefore, finds Plaintiff’s
16     use of the term “Warzone” in the title of CODWZ has artistic relevance to the
17     underlying work, as a matter of law.
18                       b.       Explicitly Misleads Prong
19           “The second prong of the Rogers test requires a junior user to show that their
20     work does not explicitly mislead as to the source or content of the work.” Twentieth
21     Century Fox, 161 F. Supp. 3d at 908; see also E.S.S., 547 F.3d at 1100; Brown v. Elec.
22     Arts, Inc., 724 F.3d 1235, 1245 (9th Cir. 2013) (“It is key here that the creator must
23     explicitly mislead consumers.”) (italics in original). Ordinarily, “the mere use of a
24     trademark alone cannot suffice to make such use explicitly misleading.” E.S.S., 547
25     F.3d at 1100. However, this “does not extend to instances in which consumers would
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       DICTIONARY, https://www.merriam-webster.com/dictionary/war%20zone (last
28     visited August 15, 2022).
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1      expect the use of a mark alone to identify the source.” Gordon, 909 F.3d at 270.
2      Further, “identical usage could reflect the type of ‘explicitly misleading description’
3      of source that Rogers condemns.” Id. Concern about misleading consumers is
4      “generally allayed when the mark is used as only one component of a junior user’s
5      larger expressive creation.” Id. at 270-71.
6            Activision argues that its use of the word “Warzone” cannot be explicitly
7      misleading because it is a common English word with general meaning independent of
8      Warzone.com’s game. Mot. 16. Further, Activision argues its marketing makes clear
9      that CODWZ is part of the broader Call of Duty franchise and that “any suggestion
10     that Activision intended to mislead explicitly its customers into believing that it was
11     associated with [Warzone.com] and its browser-based strategy game defies common
12     sense or credibility.” Id. at 17-18. Defendant counters that Activision’s use of
13     “Warzone” is explicitly misleading because consumers searching for its video game
14     are diverted to Activision’s game. Opp’n 23-24. Defendant further argues its
15     allegations of consumer confusion are sufficient to negate the second prong of the
16     Rogers test. Id. at 25.
17           Here, Defendant fails to allege plausibly that Activision explicitly mislead
18     consumers by using the term “Warzone” in the title of CODWZ as part of the broader
19     Call of Duty franchise. In its attempt to satisfy the second prong of the Rogers test,
20     Defendant relies on allegations that Activision’s use of “Warzone” has caused
21     consumer confusion. But “[t]o fail the second prong of the Rogers test, it is key that
22     the creator must explicitly mislead consumers,” and the court “must ask not only about
23     the likelihood of consumer confusion but also whether there was an explicit
24     indication, overt claim, or explicit misstatement that caused such consumer
25     confusion.” Twentieth Century Fox, 875 F.3d at 1199. Warzone.com alleges
26     Activision uses an identical mark to offer similar goods and services, saturating the
27     market and overwhelming Warzone.com, resulting in actual consumer confusion.
28     Answer and Counterclaims 11, 14-15, ¶¶ 20, 23-28. However, nothing in the

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1      allegations plausibly suggest that Activision’s use of the term “Warzone” is explicitly
2      misleading.
3            Finally, Warzone.com argues it is not appropriate to apply the Rogers test on a
4      motion to dismiss, citing a number of cases where courts applied the Rogers test to
5      motions for summary judgment. Opp’n 26. However, there are numerous other
6      instances where courts appropriately applied the Rogers test to motions to dismiss.
7      See Dkt. 32 (“Reply”) 3, collecting cases. Where “[t]here is simply no allegation that
8      [Activision] explicitly misled consumers” there is “no problem with the district court
9      deciding this issue in response to a motion to dismiss.” Brown, 724 F.3d at 1248. In
10     sum, the court finds Activision’s use of the term “Warzone” in CODWZ is entitled to
11     First Amendment protection and does not violate the Lanham Act.
12           B.      False Advertising and California Trademark Infringement
13           The First Amendment protection articulated in Rogers applies equally to state
14     law claims and the Lanham Act claim. See E.S.S., 547 F.3d at 1101 (finding “the First
15     Amendment defense applie[d] equally to [plaintiff’s] state law [trademark
16     infringement and unfair competition] claims as to its Lanham Act claim”); see also
17     Novalogic, 41 F. Supp. 3d at 904 (“Because Plaintiff’s federal claims fail, its claim for
18     common law trademark infringement also fails.”). Having found that Activision’s use
19     of the term “Warzone” is entitled to First Amendment protection under Rogers, the
20     court finds that Warzone.com’s Counterclaims II and III for unfair competition and
21     false advertising under California law, Cal. Bus. & Prof. Code §§ 17200 and 17500 et
22     seq., and trademark infringement under California common law also fail.
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1                                         CONCLUSION
2             For the foregoing reasons, the court GRANTS Plaintiff’s Motion to Dismiss
3      Counterclaims and Motion for Judgment on the Pleadings, Dkt. 24, and orders as
4      follows:
5          1. The court declares that Activision’s use of the WARZONE and CALL OF
6             DUTY WARZONE Marks does not infringe, and at all times has not infringed,
7             any existing and valid common law trademark rights of Defendant under the
8             Lanham Act, 15 U.S.C. § 1125(a);
9          2. Judgment is entered in favor of Plaintiff on the Complaint; and
10         3. Defendant’s counterclaims are dismissed without leave to amend. 3
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12            IT IS SO ORDERED.
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14     Dated: August 15, 2022
15                                                 ______________________________
16                                                 FERNANDO L. AENLLE-ROCHA
                                                   United States District Judge
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23       In its prayer for relief, Plaintiff seeks declarations that Activision’s pending
       applications for registration of the marks WARZONE and CALL OF DUTY
24     WARZONE may proceed to registration and that Warzone’s pending applications for
25     registration of the mark WARZONE should not proceed to registration. Compl. at 12-
       13. Activision previously conceded that that this court would not have the authority to
26     decide trademark registration issues if the court were to dismiss Warzone.com’s
27     counterclaims and issue a declaration of non-infringement under the Lanham Act (15
       U.S.C. § 1125(a)). See Dkt. 52 at 4. The court, therefore, does not address issues
28     related to trademark registration.
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